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   7
                            IN THE UNITED STATES BANKRUPTCY COURT
   8
                                     FOR THE DISTRICT OF ARIZONA
   9
       In re                               )                   Chapter 11 Proceedings
  10                                       )
       THE ROMAN CATHOLIC CHURCH OF )                          Case No. 4:04-bk-04721-JMM
  11   DIOCESE OF TUCSON aka THE           )
       DIOCESE OF TUCSON, an Arizona       )                   OBJECTION TO DEBTOR’S
  12   corporation sole,                   )                   FIRST AMENDED AND
                                           )                   RESTATED DISCLOSURE STATEMENT
  13                  Debtor.              )
       ____________________________________)
  14
  15           For the reasons set forth below, A. Bates Butler III, the Unknown Claims Representative
  16   (“Butler”), objects to Debtor’s First Amended and Restated Disclosure statement Regarding Plan
  17   of Reorganization Dated February 25, 2005.
  18           Disclosure Statements are governed by 11 U.S.C. § 1125. The disclosure is intended to give
  19   such additional information as will assist a typical creditor, in a particular class, to make an informed
  20   judgment as to how it will vote on a proposed plan. 11 U.S.C. § 1125(a)(1).
  21           An adequate disclosure statement primarily requires that creditors be given the information
  22   needed to determine whether to accept or reject the plan, In re Moonier Bros., 755 F.2d 1336 (8th
  23   Cir. 1985). Guidelines for the adequacy of disclosure were set forth in A.C. Williams Co., 25 B.R.
  24   173 (Bank. N.D. Ohio 1982).
  25           As set forth below, the Disclosure Statement filed by the Diocese does not contain sufficient
  26   information.
  27           1. The Disclosure Statement does not identify the person(s) involved with the Diocese who
  28   provided the information contained in the Disclosure Statement.


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   1          2. The Introduction states that the Plan will establish a fund for victims who have presently
   2   identified themselves, and for those who recognize their Claims or identify themselves in the future.
   3   This should be clarified. The fund established is for victims with allowed claims.
   4          3. The Disclosure Statement identifies Parish Unsecured Claims as impaired and entitled
   5   to vote. Butler reserves his rights to dispute that the Parishes are separate entities with claims. To
   6   the extent they have separate claims, they are insider claims, and such class is subject to 11 U.S.C.
   7   §1129(a)(10). In addition, the Plan discriminates unfairly if the Class 6 Parish Unsecured Claims
   8   and the Class 7 General Unsecured Claims are paid in full, but the Class 9 Tort Claimants are being
   9   paid less than the full amount of their claim.
  10          4. There needs to be more disclosure and clarification as to the Settlement Trust and the
  11   Litigation Trust, and how the Debtor intends to reserve funds for the unknown victims. For
  12   example, how much will be reserved for those claimants who have not been identified? Assuming
  13   the parties agree on the number of unidentified victims, or the Court determines the number, the tier
  14   for each victim is determined by the Special Master. However, until the victim comes forward, the
  15   tier for payment purposes is unknown.
  16          The Diocese proposes to have the Trustees of the Settlement Trust establish a reserve for the
  17   Claims of Minors and Unknown Tort Claims based upon a formula determined by the Bankruptcy
  18   Court as part of the confirmation process. More information is needed regarding this formula. What
  19   factors will be included, and what will be proposed, are important disclosures that have not been
  20   included in the Disclosure Statement.
  21          In addition, the Diocese is proposing that all Tort Claimants will automatically be included
  22   in the Settlement Trust unless such Tort Claimant has entered into a Claim Allowance Agreement
  23   or has affirmatively elected to have his or her claim treated under the Litigation Trust. Obviously,
  24   the unknown victims have not entered into a Claim Allowance Agreement. The unknown victims
  25   should not be required to make an election at this time. In addition, the amount to be allocated to
  26   each trust is an important component to the election process.
  27          With regard to the Litigation Trust, the costs of defending the claim will be paid from the
  28   Litigation Trust. The costs the Diocese has incurred in the past to defend claims is necessary to

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   1   determine the potential recovery to a victim who elects to be placed in the Litigation Trust.
   2           5. The Disclosure Statement states that The Diocese and the Committee and other interested
   3   parties will propose the person who will be the Special Master to be selected by the Bankruptcy
   4   Court. Butler and the Guardian Ad Litem, Charles A. Arnold (“Arnold”) should also be a part of
   5   the selection process. The Disclosure Statement fails to address how the Special Master will be
   6   selected, and the process if the parties do not agree.
   7           6. Butler and Arnold should be part of the decision making process for the classification of
   8   tort claimants into Tiers. The criteria for each Tier is to be set forth in the Settlement Trust and to
   9   be agreed upon between the Committee and the Diocese. This should also include an agreement
  10   with Butler and Arnold.
  11           8. The Diocese takes the position that “Parish Property” is not property of the estate, and
  12   not subject to the Tort claims. Butler preserves his rights to object to the Diocese’s failure to include
  13   “Parish Property.” Butler believes that when a Catholic diocese is formed as a corporation, sole
  14   parishes within the diocese are part of the diocese itself and do not have any separate legal existence.
  15   While parishes may be separate entities for religious purposes under Canon Law, they are not
  16   separately incorporated under civil law. In fact, the Diocese proposes to have the Parishes
  17   incorporate after confirmation of a plan.
  18           Butler preserves his right to object to the exclusion of the Parish real and personal property
  19   and the funds held by the Diocese for the “benefit” of the Parishes.
  20           9. The Disclosure Statement identifies Church personnel, including priests, who minister
  21   in the territory of the Diocese as not being employees of the Diocese, but associated with or
  22   employed by Parishes and other orders. It is believed that priests may be paid by their respective
  23   Parish, but serve at the discretion of the Bishop.
  24           10. The Diocese proposes to work with the Committee to determine if any payments made
  25   to creditors prior to the bankruptcy may be recoverable. Butler and Arnold should be included in
  26   this process.
  27           11. The Diocese proposes to obtain a permanent injunction against prosecution of claims
  28   against Channeled Claims or Claims against any Released Parties. The injunction proposed by the

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   1   Diocese will benefit Participating Third Parties which would include the Parishes, without including
   2   the “Parish Property.” No Third Party, including the parishes, should obtain an injunction without
   3   contributing a substantial sum of money to the payment of the Tort Claims. The Diocese cannot
   4   obtain an injunction for the benefit of third parties, nor would such an injunction benefit the Estate..
   5
   6          12. No time frame has been set for the unknown victims. The Diocese should propose a time
   7   frame in which assets will be available for distribution to the unknown claimants. The amount of
   8   the fund, and the duration the fund will be available, should be disclosed.
   9          Wherefore, Butler requests that the Court deny approval of the Disclosure Statement until
  10   further information is provided.
  11          RESPECTFULLY SUBMITTED this 21st day of March, 2005.
  12                                                  McEVOY, DANIELS & DARCY, P.C.
  13
                                                      By:         /s/Sally M. Darcy
  14                                                          Sally M. Darcy
                                                              Attorneys for A. Bates Butler III
  15                                                          Unknown Claims Representative
  16
       Copy of the foregoing served this 21st day
  17   of March, 2005, to parties listed on
       Exhibit "A" attached:
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   1                                              EXHIBIT "1"

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